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                     EXHIBIT 7
                 LeaseWeb Policies
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This Support and Service Level Schedule sets out the performance metrics such as applicable service levels, response
times, service windows and availability of LeaseWeb’s CDN Services and ancillary Services. In addition, this Support
and Service Level Schedule defines the Service Credits that Customer may be eligible to in case LeaseWeb does not
meet the performance metrics set forth herein. LeaseWeb’s general terms and conditions (the “General Conditions”),
LeaseWeb service specification (the “Service Specifications”) and LeaseWeb’s policies and guidelines with respect to
the use of its CDN Services (the “LeaseWeb Policies”) are also part of the Agreement and apply to the CDN Services
and ancillary Services provided by LeaseWeb.


CHAPTER A. DEFINITIONS

1.    DEFINITIONS
1.1. All words capitalized herein that are defined in the General Conditions, the Service Specifications and the LeaseWeb Policies shall have the
     meaning assigned to them therein; other capitalized words shall have the following meaning:
     Excluded Events means any interruption or suspension or degradation caused by or resulting from (i) an event of Force Majeure, (ii) an act or
         omission of Customer, its employees, End Users, agents or contractors; (iii) Tests, Maintenance, relocation under the General Conditions;
         (iv) Customer’s Traffic for a certain ASN number exceeds the ASN Threshold, (v) a suspension of Services in accordance with the General
         Conditions, (vi) any exercise by LeaseWeb of its rights or remedies under the Agreement, (vii) Denial‐of‐Service (DoS) attacks, Distributed‐
         Denial‐of‐Service (DDoS) attacks or Distributed‐Reflected‐Denial‐of‐Service (DRDoS) attacks by a third party or third parties that results in
         an unaccounted peak in data traffic, or other attacks by a third party or third parties that result in the Service becoming wholly or partly
         unavailable, (viii) any use of the Service that is in breach of the Agreement, (ix) any failure of Customer controlled actions or environments,
         (x) virus or malware, (xi) any successful or unsuccessful hack attempts regardless whether protected by an SSL certificate provided by or
         through LeaseWeb, (xii) any event that occurs during a period during which the Customer is in breach of its payment obligations under the
         Agreement, (xiii) any failure to correctly perform Test Transactions due to a technical malfunction, Maintenance or otherwise, (xiv) the
         failure by Customer to implement recommendations or solutions previously advised or made available by LeaseWeb, (xv) any incorrect or
         unauthorisevd use of the Service, or the use of the Service for a purpose for which it was not designed, (xvi) any interaction between the
         Service and any other software, hardware or third party service, (xvii) problems which cannot be reasonably re‐created or examined by
         LeaseWeb, and/or (xviii) any configuration by Customer of the Service.
     Monthly Recurring CDN Charge means the fixed recurring Service Charge invoiced by LeaseWeb to Customer on a monthly basis for the delivery
         of the CDN Service (as set forth in the Order Form/Order Confirmation or LeaseWeb’s invoices), exclusive of any taxes, non‐recurring charges,
         setup charges, surcharges, variable charges based upon Customer usage and other similar charges.
     Monthly Recurring Service Level Charge means the fixed recurring Service Charge invoiced by LeaseWeb to Customer on a monthly basis in
         connection with the chosen Service Level by Customer (as set forth in the Order Form/Order Confirmation).
     Response Time means the period of time measured from the time LeaseWeb receives a Support Request by email or through the Customer
         Portal, or in case of a Support Request by phone or chat from the time LeaseWeb receives the confirmation mentioned in clause 2.3 hereof,
         until the moment a LeaseWeb support engineer acknowledges receipt of such request to Customer.
     Time Included means the number of minutes that the Customer shall be eligible to receive Advanced Support Services under the applicable
         Service Level that the Customer has chosen (see Chapter 3.1).


CHAPTER B. CUSTOMER SUPPORT

2.    SUPPORT
2.1. LeaseWeb shall provide an English‐language customer support service. LeaseWeb will maintain support engineers actively on duty 24 hours per
     day, every day of the year.
2.2. LeaseWeb shall in no event be obliged to provide any support services to End Users.
2.3. Customer may initiate a request for Advanced Support, or report a Service Disruption (a “Support Request”) to the customer support service
     via the Customer Portal, phone, chat or email. A Support Request must include the following information: (i) type of Service, (ii) company name,
     (iii) name and number for immediate contact with the Customer, (iv) a clear, detailed and unambiguous description of Advanced Support
     requested, and (v) a detailed description of the Service Disruption (if applicable). LeaseWeb may refuse a Support Request if it is not able to
     establish that the Support Request is made by the person authorised thereto in the Customer Portal. Customer must confirm all Support
     Requests it makes by means of chat or phone by sending a confirmation message through the Customer Portal or by way of email.
2.4. The table below sets forth the Response Time (the “Response Time Target”) for (a) any Service Disruptions that have been reported by
     Customer to LeaseWeb in accordance with clause 2.3 above, and (b) any request for Advanced Support Service to be performed in accordance
     with clause 2.3 above. The Response Time Target depends on the applicable Service Level.

      Table 1:    Response Time Target
        SERVICE LEVEL                              RESPONSE TIME TARGET
        Basic                                      24 hours
        Bronze                                     4 hours
        Silver                                     2hours
        Gold                                       1hour
        Platinum                                   30 minutes

2.5. In the event LeaseWeb does not respond within the applicable Response Time Target, Customer shall be eligible to receive a Service Credit (the
     “Response Time Credit”) for every one (1) full hour in excess of the maximum Response Time Target equal to 2% of the Monthly Recurring

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     Service Level Charge for the respective month for the Service affected by the Service Disruption or for which Advanced Support Services were
     requested (as applicable). If Customer does not pay a Monthly Recurring Service Level Charge, then Customer shall not be eligible to any
     Response Time Credit.
2.6. Customer shall ensure that it will at all times be reachable on Customer’s emergency numbers, specified in the Customer Portal. No Response
     Time Credit shall be due in case the Customer is not reachable on Customer’s emergency number.
2.7. The maximum amount of Response Time Credits that a Customer may be eligible to in a particular month, shall be limited to 50% of the Monthly
     Recurring Service Level Charge for the respective month for the Customer’s Service affected by the Service Disruption or for which Advanced
     Support Services were requested (as applicable).


3.    SERVICE LEVEL
3.1. The Order Form/Order Confirmation shall set forth the Service Level chosen by Customer. The Service Level chosen by Customer will determine:
       a) the Response Times;
       b) the amount of the Time Included; and
       c) the hourly rates for Advanced Support Services.
3.2. If no Service Level has been chosen by Customer, the Basic Service Level shall apply by default.
3.3. Customer may, at any time during the Term, request an upgrade of its Service Level. Clause 5 of the General Conditions shall apply to such
     upgrade request. The chosen Service Level may only be downgraded at the end of the Initial Term or any renewal term (as applicable).
3.4. The Service Level shall only apply to the Services identified in the Order Form/Order Confirmation to be covered by the Service Level.


4.    TIME INCLUDED
4.1. Depending on the Service Level chosen by Customer, Customer shall be entitled to a certain number of minutes of Advanced Support Services.
4.2. The table below sets forth the Time Included of Advanced Support Services in each respective Service Level.

      Table 2:     Service Level Time Included
        LEVEL                                        TIME INCLUDED
        Basic                                        0 minutes / month
        Bronze                                       30 minutes / month
        Silver                                       60 minutes / month
        Gold                                         90 minutes / month
        Platinum                                     120 minutes / month

4.3. Unused minutes of the Advanced Support Services are non‐refundable and shall not transfer to following months. In addition, any Time Included
     may only be used for the Service for which the Service Level was chosen and shall not be transferable to any other Service.


5.    ADVANCED SUPPORT SERVICES
5.1. Customer may also request LeaseWeb to perform support (the “Advanced Support Services”). Advanced Support Services may include
     providing technical expertise, trouble shooting, consultancy services, setup and configuration of application servers and clusters (including web
     and database servers and clusters), performance tuning, DNS services, firewall setup, and load balancing setup.
5.2. LeaseWeb may accept or decline Customer’s request for Advanced Support Services in its sole discretion. In case LeaseWeb declines Customer’s
     request for Advanced Support Services, Customer shall be solely responsible for the performance of such services.
5.3. All Advanced Support Services are provided AS‐IS and on a best efforts basis. LeaseWeb is not liable to Customer for any damage resulting from
     any Advanced Support Services , unless such damage is the direct result of gross negligence or wilful misconduct by LeaseWeb. Any delivery
     times, turnaround times or deadlines given or agreed in connection with Advanced Support Services are target times only and LeaseWeb shall
     in no event be liable for any failure to meet these target times/deadlines.


6.    SERVICE LEVEL SERVICE CHARGES
6.1. Customer shall pay to LeaseWeb the Monthly Recurring Service Level Charge. In addition, LeaseWeb shall be entitled to invoice Service Charges
     for all Advanced Support Services provided to Customer in excess of the Time Included, on a time spent basis, at the prevailing LeaseWeb hourly
     rate for performing the particular Support Services (plus its expenses related to the performance of the Advanced Support Services, including
     any traveling expenses if applicable). The applicable hourly rate may depend on the chosen Service Level.
6.2. All Support Services shall be measured in economical quarter hour increments, the number of minutes required to complete the task rounded
     up to the next quarter hour, regardless of the level of complexity required to complete the assignment.
6.3. For the purpose of determining the amount of time of Advanced Support Services provided, LeaseWeb’s data shall be binding.


CHAPTER C. CDN UPTIME SERVICE LEVEL

7.    UPTIME
7.1. The CDN Service is built to achieve a 100% availability. The availability of the CDN Service is measured as follows.
7.2. LeaseWeb shall, on a 24/7/365 basis, monitor the CDN Service by testing the availability and latency of a test file. This test file shall contain 10
     kilobyte of text. LeaseWeb shall ensure that this test file shall be stored on the CDN Service throughout the Term.
7.3. Every five (5) minutes LeaseWeb shall test the availability and latency of the test file within the CDN Service by measuring the time it takes to
     request and subsequently receive the entire test file at all of the greater metropolitan areas (the “Test Locations”) of the cities set forth in the
     table below (each such test hereinafter a “Test Transaction”). A “Service Degradation” shall be deemed to have occurred if the Test Transaction
     is unsuccessful for each of the Test Locations for two (2) consecutive Test Transactions. A Test Transaction for a specific Test Location shall be
     deemed unsuccessful if the test file is not received in full at a Test Locations within the Target Latency.


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      Table 1:    Target Latency
        TEST LOCATION                            TARGET LATENCY
        Amsterdam, The Netherlands               250 ms
        Frankfurt, Germany                       250 ms
        Singapore, Republic of Singapore         250 ms
        San Jose, USA                            250 ms
        Washington D.C., USA                     250 ms

7.4. For each day during which a Service Degradation occurs, Customer shall be eligible to a Service Credit equal to 1/30th of Customer’s Monthly
     Recurring CDN Charge.
7.5. For the purpose of determining whether a Service Degradation has occurred, LeaseWeb’s monitoring data shall be binding.
7.6. All Test Transactions that have failed as a result of one or more Excluded Event shall be excluded when determining whether a Service
     Degradation has occurred.
7.7. The Test Locations are set up by LeaseWeb residing within and/or outside its Network. LeaseWeb reserves the right to add, relocate or
     discontinue any of the Test Locations.
7.8. The maximum total amount of Service Credits that Customer may be eligible to in a particular month, shall be limited to 50% of the Customer’s
     Monthly Recurring CDN Charge for the respective month.


CHAPTER D. SERVICE CREDIT REQUESTS

8.    SERVICE CREDIT PROCEDURE
8.1. To initiate a claim for a Service Credit, Customer must contact LeaseWeb’s customer support group within five (5) Business Days after the end
     of the month for which the Service Credit is requested. The Service Credit request must provide: (a) the Customer name and contact
     information; (b) the date and beginning/end time of the failed performance metric; (c) a brief description of the characteristics of the failed
     performance metric, and the specific LeaseWeb support ticket number(s) opened about the failed performance metric.
8.2. LeaseWeb will notify Customer via email upon resolution of the request. If rejected, the notification will specify the basis for rejection. If
     approved, LeaseWeb will issue a Service Credit to Customer’s account. This Service Credit will be credited on the next invoice issued by
     LeaseWeb to Customer. LeaseWeb’s records and data shall be the basis for all calculations and determinations in respect of Service Credits.
8.3. To be eligible to receive Service Credits, Customer must cooperate in good faith with LeaseWeb to trace the root cause of the event resulting
     in the failed Service Level.
8.4. No Service Credit shall be due in case the failed performance metric results from or is caused by Excluded Events.
8.5. Service Credits shall constitute Customer’s sole and exclusive legal remedy against LeaseWeb, and shall constitute LeaseWeb’s sole liability, in
     relation to, or in connection with, Service Disruptions, Service Degradation or a failure by LeaseWeb to meet the Service Levels set forth herein,
     and any such Service Disruptions, Service Degradation or failure shall not be deemed to be a breach by LeaseWeb.




CUSTOMER: _________________   LEASEWEB: _________________                                                                                            3
